    Case 3:16-cr-00645-LAB   Document 40   Filed 05/05/16    PageID.159      Page 1 of 1



                        UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF CALIFORN

                                                                          ,,', L ~~()E:; •• ,
UNITED STATES OF AMERICA,                  CASE NO. 16CR064d--;"'..."..,...,---   .- - - - - ­

                       Plaintiff,
               vs.                         JUDGMENT OF DISMISSAL
SYLVIA OFELIA AGUIRRE
VALDESPINO (2),

                       Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

     an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

__
 X__ the Court has granted the motion of the Government for dismissal,
     without    judice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

__
 X__ of the offense(s) as charged in the Information:

     21:952, 960; 18:2 - IMPORTATION OF COCAINE; AIDING AND ABETTING



          IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


 DATED: MAY 5, 2016
                                            DAVID H. BARTICK
                                            U.S. MAGISTRATE JUDGE
